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                                                                                    2018 Sep-20 PM 02:39
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                        NORTHEASTERN DIVISION

TROY T. WILLIAMS,                         )
                                          )
      Plaintiff,                          )
                                          )
vs.                                       )   Civil Action No. 5:17-CV-01216-CLS
                                          )
EQUIFAX INFORMATION                       )
SERVICES, INC.,                           )
                                          )
      Defendant.                          )

                                FINAL JUDGMENT

      In accordance with the memorandum opinion entered contemporaneously

herewith, it is CONSIDERED, ORDERED, ADJUDGED, and DECREED that

plaintiff’s motion for summary judgment (doc. no. 101) is DENIED, the motion for

summary judgment filed by defendant, Equifax Information Services, Inc. (doc. no.

107), is GRANTED, and all claims of plaintiff, Troy T. Williams, are dismissed with

prejudice. Costs are taxed to plaintiff, and the Clerk is directed to close this file.

      DONE and ORDERED this 20th day of September, 2018.


                                               ______________________________
                                               United States District Judge
